
718 S.E.2d 389 (2011)
TOWN OF MATTHEWS, a North Carolina Municipal Corporation
v.
Lester E. WRIGHT and wife, Virginia J. Wright.
No. 400P11.
Supreme Court of North Carolina.
November 9, 2011.
Peter J. Juran, Winston-Salem, for Wright, Lester E., et al.
Charles R. Buckley, III, Charlotte, for Town of Matthews.

ORDER
Upon consideration of the petition filed on the 16th of September 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of November 2011."
JACKSON, J., recused.
